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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                      )      Case No. 1:20-cr-77
                                               )
                Plaintiff,                     )      Judge Timothy S. Black
                                               )
         v.                                    )      DEFENDANT LARRY
                                               )      HOUSEHOLDER’S NOTICE OF
LARRY HOUSEHOLDER,                             )      APPEAL
                                               )
                Defendant.                     )

         Defendant Larry Householder hereby appeals to the United States Court of Appeals for

the Sixth Circuit from the Court’s final judgment, which the Court entered on July 6, 2023 (Doc.

288).

Dated: July 12, 2023                                Respectfully submitted,

                                                    /s/ Steven L. Bradley
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                                                    /s/ Nicholas R. Oleski
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                                  CERTIFICATE OF SERVICE

         I certify that the foregoing was electronically filed on July 12, 2023. Notice of this filing

will be sent to all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

                                                       /s/ Steven L. Bradley
                                                       Steven L. Bradley (0046622)




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